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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 21-cr-24 (EGS)
                                              :
ROBERT GIESWEIN,                              :
                                              :
                       Defendant.             :


                                    JOINT STATUS REPORT

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, and the defendant Robert Gieswein, by and through his attorneys Ann

Mason Rigby and Elizabeth Mullin, hereby submit this joint status report in response to the Court’s

Minute Order entered September 1, 2022, directing the parties propose a schedule for “(1) any

required expert disclosures; (2) deadline for United States for grand jury and Jenks Act disclosures

as to each witness it expects to call in its case-in-chief; (3) deadline for any Brady material not

already disclosed; (4) three proposed dates and times for a pretrial conference during the week of

October 17, 2022.” 1

       The trial in this case is now set for trial on May 2, 2023. Minute Order dated August 5,

2022. Accordingly, the parties’ proposed dates for a pretrial conference are the week before that

trial, as the week of October 17 was a week prior to the previously scheduled October 24, 2022,




1
       As an initial matter, the parties apologize to the Court for their failure to comply with the
Court’s August 2, 2022, Minute Order requesting similar information. The parties incorrectly
assumed the Court’s August 2 Minute order had been vacated by virtue of the trial being continued
from October 2022 to May 2023.
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trial date. 2 Additionally, the parties propose a motions schedule, as discussed at the August 5,

2022, arraignment in this case. That schedule would involve moving the pretrial motions hearing,

which is currently scheduled for April 26, 2021, to allow that hearing to take place prior to the

pretrial conference.

       Accordingly, the parties jointly propose the following dates to the Court:

           •   Any additional motions shall be filed no later than February 17, 2023.

           •   Oppositions to those motions shall be filed no later than March 10, 2023.

           •   Any expert disclosures shall be made no later than March 15, 2023

           •   Any replies shall be filed no later than March 17, 2023.

           •   The Motions hearing shall be rescheduled from April 26, 2023, to March 31,
               2023.

           •   The government understands that it has a continuing obligation to disclose all
               Brady materials. It will provide all discoverable materials by April 4, 2023.

           •   The government shall provide all Jencks Act and Grand Jury materials for
               witnesses it expects to call in its case-in-chief no later than April 19, 2023.

           •   The parties are available at the Court’s convenience during the week of April 24,
               2023, for a pretrial conference.

       If any of the above dates are bad for the Court, the parties request that the Court not set

any hearings during the week of March 17-22 or April 3-7, 2023.




2
       The parties are generally available the week of October 17, 2022, should the Court still
want to hold a pretrial conference then.

                                                  2
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       Undersigned counsel has provided a copy to Ann Rigby and Elizabeth Mullin, counsel for

Mr. Gieswein, who informed the undersigned counsel that they may file this as a joint status report.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              DC Bar No. 481052



                                          By: __/s/ Erik M. Kenerson_____________
                                             ERIK M. KENERSON, OH Bar 82960
                                             JASON B.A. MCCULLOUGH, D.C. Bar 998006
                                             U.S. Attorney’s Office for the District of Columbia
                                             Assistant United States Attorneys
                                             601 D Street NW
                                             Washington, D.C. 20530
                                             (202) 252-7201
                                             Erik.Kenerson@usdoj.gov




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